                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 1 of 11 Page ID #:1




                                                        1 PETER S. DICKINSON (SBN 139495)
                                                          pdickinson@bushgottlieb.com
                                                        2 KIRK M. PRESTEGARD (SBN 291942)
                                                          kprestegard@bushgottlieb.com
                                                        3 ESTEPHANIE VILLALPANDO (SBN 323087)
                                                          evillalpando@bushgottlieb.com
                                                        4 BUSH GOTTLIEB
                                                          A Law Corporation
                                                        5 801 North Brand Boulevard, Suite 950
                                                          Glendale, California 91203-1260
                                                        6 Telephone: (818) 973-3200
                                                          Facsimile: (818) 973-3201
                                                        7
                                                          Attorneys for Plaintiffs Directors of the
                                                        8 Motion Picture Industry Pension Plan and
                                                          Directors of the Motion Picture Industry
                                                        9 Health Plan
                                                       10                               UNITED STATES DISTRICT COURT
                                                       11                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                801 North Brand Boulevard, Suite 950




                                                       12
                   Glendale, California 91203-1260




                                                       13 Directors of the Motion Picture Industry          CASE NO. 2:20-CV-00653
BUSH GOTTLIEB




                                                          Pension Plan and Directors of the
                                                       14 Motion Picture Industry Health Plan,
                                                                                                            COMPLAINT TO COMPEL AUDIT
                                                       15                     Plaintiffs,                   ENTRY, FOR UNPAID
                                                                                                            CONTRIBUTIONS UNDER THE
                                                       16            vs.                                    EMPLOYEE RETIREMENT
                                                                                                            INCOME SECURITY ACT OF 1974,
                                                       17 24 HTL (U.S.), LLC, a Delaware                    AND BREACH OF COLLECTIVE
                                                          Limited Liability Company, and                    BARGAINING AGREEMENTS
                                                       18 Fundamental Films, Inc., a California
                                                          Corporation, and DOES 1 through 10,               (29 U.S.C. § 185; 29 U.S.C. §§ 1132
                                                       19                                                   and 1145)
                                                                      Defendants.
                                                       20
                                                       21
                                                       22
                                                       23            Plaintiffs Directors of the Motion Picture Industry Pension Plan and Directors
                                                       24 of the Motion Picture Industry Health Plan (“Directors”) allege as follows:
                                                       25                                   JURISDICTION AND VENUE
                                                       26            1.       This action by the Directors of the Motion Picture Industry Pension
                                                       27 Plan and Motion Picture Industry Health Plan (collectively, and as distinguished
                                                       28 from the Directors, the “Plans”) is based on the failure and refusal of Defendant 24
                                                            685340v2 11011-28018                                                          2:20-CV-00653
                                                                                                      COMPLAINT
                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 2 of 11 Page ID #:2




                                                        1 HTL (U.S.), LLC (“24 HTL”) and DOES 1 through 10, inclusive, to honor their
                                                        2 obligations to the Plans, as required by the terms of certain collective bargaining
                                                        3 agreements and the trust agreements governing the Plans, and pursuant to § 515 of
                                                        4 the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29
                                                        5 U.S.C. § 1145, and § 301(a) of the Labor Management Relations Act (“LMRA”), 29
                                                        6 U.S.C. § 185(a).
                                                        7            2.       This Court has jurisdiction over the subject matter of this action
                                                        8 pursuant to 28 U.S.C. § 1331; ERISA § 502(e)(1), 29 U.S.C. § 1132(e)(1); and
                                                        9 LMRA § 301(c), 29 U.S.C. § 185(c).
                                                       10            3.       Venue is based on the location of the office in which the Plans are
                                                       11 administered, located in the Central District of California. As such, venue is
                801 North Brand Boulevard, Suite 950




                                                       12 appropriate pursuant to ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2), and LMRA §
                   Glendale, California 91203-1260




                                                       13 301(a), 29 U.S.C. § 185(a).
BUSH GOTTLIEB




                                                       14                                             PARTIES
                                                       15            4.       The Plans are “employee benefit plans” within the meaning of ERISA §
                                                       16 3(3), 29 U.S.C. § 1002(3), in that they were created pursuant to written declarations
                                                       17 of trust ("Trust Agreements") between the International Alliance of Theatrical Stage
                                                       18 Employees ("IATSE") and certain other labor organizations, and motion picture and
                                                       19 television industry producer employers participating in the Plans ("Producers"), and
                                                       20 are maintained for the purpose of providing their participants and beneficiaries with
                                                       21 medical, surgical and hospital benefits in the event of sickness, accident, disability
                                                       22 or death, and retirement benefits. The Plans were created and now exist pursuant to
                                                       23 LMRA § 302(c), 29 U.S.C. § 186(c).
                                                       24            5.       The Plans are “multiemployer plans” within the meaning of ERISA §
                                                       25 3(37)(A), 29 U.S.C. § 1002(37)(A), in that more than one employer is required to
                                                       26 contribute to the Plans and the Plans are maintained pursuant to collective
                                                       27 bargaining agreements between the Unions (as defined in par. 6, infra) and multiple
                                                       28 motion picture and television producers.
                                                            685340v2 11011-28018
                                                                                                           2                                2:20-CV-00653
                                                                                                       COMPLAINT
                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 3 of 11 Page ID #:3




                                                        1            6.       The Directors are “fiduciaries” within the meaning of ERISA §
                                                        2 3(21)(A), 29 U.S.C. § 1002(21)(A), half of whom have been appointed by the
                                                        3 Producers and half of whom have been appointed by the IATSE; International
                                                        4 Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers of America,
                                                        5 Local 399; and other applicable labor organizations (collectively, “Unions”). The
                                                        6 Directors have an obligation to protect the Plans’ assets including ensuring that
                                                        7 signatory employers properly remit to the Plans contractually-required pension and
                                                        8 health contributions.
                                                        9            7.       Under the Trust Agreements, the Directors have control and authority
                                                       10 over the Plans, including the authority to file actions such as the present case to
                                                       11 protect the Plans’ trust assets.
                801 North Brand Boulevard, Suite 950




                                                       12            8.       At all times relevant herein, the Unions have been labor organizations
                   Glendale, California 91203-1260




                                                       13 representing employees in the motion picture and television industry, which is an
BUSH GOTTLIEB




                                                       14 industry affecting commerce within the meaning of LMRA § 501(1), 29 U.S.C. §
                                                       15 142(1).
                                                       16            9.       At all times relevant herein, 24 HTL is and has been a limited liability
                                                       17 company organized and existing under the laws of the State of Delaware, transacting
                                                       18 business in the State of California, with its principal place of business in the State of
                                                       19 California, and is an “employer” within the meaning of ERISA § 3(5), 29 U.S.C. §
                                                       20 1002(5), and LMRA § 501(3), 29 U.S.C. § 142(3). As such, 24 HTL is also an
                                                       21 “employer” as that term is used in LMRA § 301, 29 U.S.C. § 185.
                                                       22            10.      At all times relevant herein, Fundamental Films, Inc. (“Fundamental
                                                       23 Films”) is and has been a company organized and existing under the laws of the
                                                       24 State of California and is an “employer” within the meaning of ERISA § 3(5), 29
                                                       25 U.S.C. § 1002(5), and LMRA § 501(3), 29 U.S.C. § 142(3). As such, Fundamental
                                                       26 Films is also an “employer” as that term is used in LMRA § 301, 29 U.S.C. § 185.
                                                       27            11.      The Directors are currently unaware of the true names and capacities of
                                                       28 defendants sued herein by fictitious names, DOES 1 through 10, inclusive, and
                                                            685340v2 11011-28018
                                                                                                           3                                2:20-CV-00653
                                                                                                       COMPLAINT
                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 4 of 11 Page ID #:4




                                                        1 therefore sue those defendants by fictitious names. The Directors shall seek leave to
                                                        2 amend this Complaint to allege the true names and capacities of such fictitiously-
                                                        3 named defendants when they are ascertained.
                                                        4                                  COMMON ALLEGATIONS
                                                        5            12.      The Plans are established and maintained through certain collective
                                                        6 bargaining agreements between the Producers and the Unions and the Trust
                                                        7 Agreements enacted by the Producers and the Unions (collectively, “Basic
                                                        8 Agreement”). The Producers are represented by the Alliance of Motion Picture and
                                                        9 Television Producers, a trade association responsible for negotiating virtually all the
                                                       10 industry-wide entertainment union collective bargaining agreements, commonly
                                                       11 referred to as the “AMPTP.”
                801 North Brand Boulevard, Suite 950




                                                       12            13.      At all times relevant herein, 24 HTL has been signatory to the Basic
                   Glendale, California 91203-1260




                                                       13 Agreement, as well as separately executed Consent Agreements and Trust
BUSH GOTTLIEB




                                                       14 Acceptance agreements, which, inter alia, obligate 24 HTL to pay contributions to
                                                       15 the Plans in the manner and under the terms set forth therein. Collectively, the
                                                       16 Basic Agreement, Consent Agreements, and Trust Acceptance agreements are
                                                       17 referred to herein as the “Signatory Documents.”
                                                       18            14.      Under ERISA § 515, 29 U.S.C. § 1145, employers such as 24 HTL that
                                                       19 are obligated to make contributions to a multiemployer plan pursuant to one or more
                                                       20 collectively bargained agreements are required to make such contributions in
                                                       21 accordance with the terms and conditions of such plan or agreements.
                                                       22            15.      Further, ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes the
                                                       23 Directors to enforce the requirements set forth in ERISA § 515 against 24 HTL.
                                                       24            16.      At all material times, 24 HTL employed motion picture technicians to
                                                       25 perform covered services on its motion picture, “24 Hours to Live” (“Motion
                                                       26 Picture”) which is covered by the Basic Agreement.
                                                       27            17.      Pursuant to the Signatory Documents, 24 HTL is under an obligation to
                                                       28 make certain monetary contributions to the Plans based upon, with limited
                                                            685340v2 11011-28018
                                                                                                          4                               2:20-CV-00653
                                                                                                      COMPLAINT
                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 5 of 11 Page ID #:5




                                                        1 exceptions, a set dollar amount for every hour worked or guaranteed (“Payroll
                                                        2 Contributions”) to individuals who provided covered services on the Motion Picture
                                                        3 covered by the Basic Agreement (“Covered Individuals”).
                                                        4            18.      Pursuant to the Signatory Documents, the Directors have authority to
                                                        5 conduct an audit of the books and records of signatory employers for the purpose of
                                                        6 determining the accuracy of Payroll Contributions made to the Plans. The Trust
                                                        7 Agreements provide that if such an audit discloses a delinquency or underpayment
                                                        8 of such Payroll Contributions, the cost of the audit shall be borne by the signatory
                                                        9 that is found to be delinquent, and if litigation is required to compel such an audit,
                                                       10 the costs of such litigation are to be borne by the signatory.
                                                       11            19.      Based on the express terms of the Signatory Documents, the Directors
                801 North Brand Boulevard, Suite 950




                                                       12 reposed trust and confidence in 24 HTL and relied on 24 HTL to accurately report
                   Glendale, California 91203-1260




                                                       13 and pay the correct amount of Payroll Contributions to the Plans. 24 HTL’s refusal
BUSH GOTTLIEB




                                                       14 to allow the Audit to be performed and its breach of the trust and confidence the
                                                       15 Directors reposed in it, inter alia, serves to toll any statute of limitations, if
                                                       16 applicable.
                                                       17                                  ALTER EGO ALLEGATION
                                                       18            20.      The Directors incorporate by reference each allegation contained in
                                                       19 Paragraphs 1 through 19 as though fully set forth herein.
                                                       20            21.      The Directors are informed and believe, and on that basis allege, that
                                                       21 24 HTL was formed by members, officers, and/or shareholders of Fundamental
                                                       22 Films for the purpose of producing the Motion Picture and that the members,
                                                       23 officers, and/or shareholders of Fundamental Films and 24 HTL substantially
                                                       24 overlap.
                                                       25            22.      The Directors are informed and believe, and on that basis allege, that
                                                       26 24 HTL is the alter ego of Fundamental Films based upon the following factors: (i)
                                                       27 Fundamental Films has failed to respect the separate identity of 24 HTL by failing to
                                                       28 observe strict corporate formalities; (ii) Fundamental Films demonstrated
                                                            685340v2 11011-28018
                                                                                                           5                               2:20-CV-00653
                                                                                                      COMPLAINT
                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 6 of 11 Page ID #:6




                                                        1 fraudulent intent with respect to 24 HTL, either at the time of its formation, by,
                                                        2 among other things, failing to adequately capitalize 24 HTL, or, subsequent to its
                                                        3 formation, by abusing its corporate form; (iii) the purposes of ERISA will be
                                                        4 frustrated if the fiction of the separateness between 24 HTL and Fundamental Films
                                                        5 is recognized and perpetuated; and (iv) recognition of 24 HTL and Fundamental
                                                        6 Films as separate entities would result in substantial injustice to the Plans because,
                                                        7 without employer contributions, the Plans will be inadequately funded and will be
                                                        8 unable to meet their obligations to the Plans’ participants and beneficiaries.
                                                        9            23.      Fundamental Films, through its agents, control, own, and operate 24
                                                       10 HTL as evidenced by Fundamental Films’ role as the production company for the
                                                       11 Motion Picture, the use of their shared address and telephone number, and the use
                801 North Brand Boulevard, Suite 950




                                                       12 of a “Fundamental Films” email address to conduct official business on behalf of 24
                   Glendale, California 91203-1260




                                                       13 HTL.
BUSH GOTTLIEB




                                                       14            24.      The Directors are informed and believe, and on that basis allege that at
                                                       15 all material times Fundamental Films and 24 HTL, as alter ego entities, have been
                                                       16 and continue to be jointly and severally liable for any and all obligations arising
                                                       17 from the Signatory Documents in connection with production of the Motion Picture.
                                                       18                                   FIRST CAUSE OF ACTION
                                                       19                           (Failure to Comply With Audit Obligations)
                                                       20            25.      The Directors incorporate by reference each allegation contained in
                                                       21 Paragraphs 1 through 24 as though fully set forth herein.
                                                       22            26.      The Directors maintain an audit program for the purpose of monitoring
                                                       23 and enforcing compliance with the Signatory Documents, including the obligation to
                                                       24 timely and accurately pay contributions to the Plans.
                                                       25            27.      At all times material herein, pursuant to the terms of the Signatory
                                                       26 Documents, 24 HTL has been under an affirmative duty to cooperate with the audit
                                                       27 process and to provide the Plans with information, such as books and records
                                                       28 pertaining to the Motion Picture during the period of time under audit, so that they
                                                            685340v2 11011-28018
                                                                                                           6                                2:20-CV-00653
                                                                                                      COMPLAINT
                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 7 of 11 Page ID #:7




                                                        1 can determine whether Payroll Contributions, and other contribution obligations,
                                                        2 have been paid properly and in the correct amounts.
                                                        3            28.      On or about June 22, 2017, the Plans announced a payroll compliance
                                                        4 review of 24 HTL (“Audit”) for the period from August 21, 2016 through June 17,
                                                        5 2017 (the “Audit Period”).
                                                        6            29.      The Plans sent numerous written demands to 24 HTL requesting access
                                                        7 to the books and records the auditors must have in order to commence and
                                                        8 ultimately complete the Audit.
                                                        9            30.      For several months, 24 HTL has failed to respond to numerous requests
                                                       10 for records made by the independent auditors engaged by the Plans to perform the
                                                       11 Audit.
                801 North Brand Boulevard, Suite 950




                                                       12            31.      To date, 24 HTL has failed and/or refused to provide the Plans or their
                   Glendale, California 91203-1260




                                                       13 agents with the books and records they are entitled to review under the Signatory
BUSH GOTTLIEB




                                                       14 Documents. Without these records, the Directors are unable to determine the total
                                                       15 amount of Payroll Contributions owed to the Plans with respect to the Motion
                                                       16 Picture or whether 24 HTL has complied with its obligations to make appropriate
                                                       17 Payroll Contributions to the Plans under the terms and conditions of the Plan
                                                       18 Signatory Documents.
                                                       19            32.       By its execution of the Signatory Documents, 24 HTL agreed that in
                                                       20 the event of a failure to make necessary records available for an audit, it would be
                                                       21 liable for expenses associated with enforcement, including but not limited to
                                                       22 reasonable audit fees, and attorneys’ fees, in addition to unpaid contributions,
                                                       23 liquidated damages, interest, and legal costs, whether or not the audit ultimately
                                                       24 identified any delinquent or unpaid contributions.
                                                       25            33.      The Directors are informed and believe, and on that basis allege, that
                                                       26 liquidated damages, interest, legal fees and audit costs are due, in addition to any
                                                       27 unpaid or underpaid Payroll Contributions, in amounts to be established by proof at
                                                       28 trial.
                                                            685340v2 11011-28018
                                                                                                           7                               2:20-CV-00653
                                                                                                      COMPLAINT
                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 8 of 11 Page ID #:8




                                                        1                                 SECOND CAUSE OF ACTION
                                                        2     (Violation of ERISA § 515, 29 U.S.C. § 1145 – Unpaid Payroll Contributions)
                                                        3            34.      The Directors incorporate by reference each allegation contained in
                                                        4 Paragraphs 1 through 33 as though fully set forth herein.
                                                        5            35.      Pursuant to the Plan Signatory Documents, 24 HTL is responsible for
                                                        6 complying with all terms and conditions of the Basic Agreement and Trust
                                                        7 Agreements, including but not limited to the payment of Payroll Contributions based
                                                        8 on the hours worked by covered employees performing covered services in
                                                        9 connection with production of the Motion Picture.
                                                       10            36.      The Directors are informed and believe, and thereon allege, 24 HTL
                                                       11 has not paid or has underpaid Payroll Contributions due and owing in connection
                801 North Brand Boulevard, Suite 950




                                                       12 with the Motion Picture.
                   Glendale, California 91203-1260




                                                       13            37.      Pursuant to ERISA § 502(g)(2), 29 U.S.C. §1132(g)(2), and the Plan
BUSH GOTTLIEB




                                                       14 Signatory Documents, in the event of a delinquent payment, 24 HTL agreed to be
                                                       15 and is liable to the Directors for liquidated damages equal to the greater of either
                                                       16 20% of the total amount of Payroll Contributions then due, or interest on the amount
                                                       17 then due at the annual rate of 12% calculated from the date when payment was due
                                                       18 to the date when payment is made. The Directors are informed and believe that 24
                                                       19 HTL owes liquidated damages in an amount to be established by proof at trial.
                                                       20            38.      Pursuant to ERISA § 502(g)(2), 29 U.S.C. §1132(g)(2), and the Plan
                                                       21 Signatory Documents, in the event of a delinquent payment, 24 HTL agreed to be
                                                       22 and is liable to the Directors for interest at the annual rate of 12% on all unpaid
                                                       23 Payroll Contributions due in connection with the Motion Picture calculated from the
                                                       24 date when payment was due to the date when payment is made. The Directors are
                                                       25 informed and believe that 24 HTL owes interest in an amount to be established by
                                                       26 proof at the trial.
                                                       27            39.      Pursuant to ERISA § 502(g)(2), 29 U.S.C. §1132(g)(2), and the Plan
                                                       28 Signatory Documents, 24 HTL agreed to be and is liable to the Directors for
                                                            685340v2 11011-28018
                                                                                                          8                               2:20-CV-00653
                                                                                                      COMPLAINT
                                                            Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 9 of 11 Page ID #:9




                                                        1 attorneys’ fees and legal costs incurred in connection with collection of unpaid
                                                        2 and/or underpaid Payroll Contributions. The amount of such attorneys’ fees and
                                                        3 legal costs will be established by proof at trial.
                                                        4            40.      Pursuant to the Signatory Documents, 24 HTL agreed to be and is
                                                        5 liable to the Plans for the costs of auditing 24 HTL in connection with delinquent
                                                        6 and/or unpaid Payroll Contributions, and owes audit costs in amounts to be
                                                        7 established by proof at trial.
                                                        8            41.      At all times material herein, pursuant to the terms of the Basic
                                                        9 Agreement and Trust Agreements, 24 HTL was under an affirmative duty to pay the
                                                       10 Plans the correct amount of Payroll Contributions and to provide the Plans and their
                                                       11 agents with information so that they may determine whether Payroll Contributions
                801 North Brand Boulevard, Suite 950




                                                       12 have been properly paid. The Directors are informed and believe, and on that basis
                   Glendale, California 91203-1260




                                                       13 allege, 24 HTL failed to accurately report this information and to pay the proper
BUSH GOTTLIEB




                                                       14 Payroll Contributions as to the Motion Picture.
                                                       15                                  THIRD CAUSE OF ACTION
                                                       16            (Violation of LMRA § 301(a), 29 U.S.C. § 185 – Breach of Collective
                                                       17                                     Bargaining Agreements)
                                                       18            42.      The Directors incorporate by reference each allegation contained in
                                                       19 Paragraphs 1 through 41 as though fully set forth herein.
                                                       20            43.      24 HTL breached the Basic Agreement by failing to allow an audit of
                                                       21 its books and records to be completed, as required under the terms and conditions
                                                       22 set forth therein.
                                                       23            44.      24 HTL breached the Basic Agreement by failing to pay or by making
                                                       24 insufficient payments of Payroll Contributions with respect to the Motion Picture, as
                                                       25 required under the terms and conditions set forth therein.
                                                       26            45.      As a result of 24 HTL’s breach of the Basic Agreement, the Directors
                                                       27 have suffered damages in an amount to be established by proof at trial, including but
                                                       28 not limited to unpaid and/or underpaid Payroll Contributions, liquidated damages,
                                                            685340v2 11011-28018
                                                                                                           9                                2:20-CV-00653
                                                                                                       COMPLAINT
                                                         Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 10 of 11 Page ID #:10




                                                        1 interest, attorneys’ fees, legal costs, and audit costs.
                                                        2                                 FOURTH CAUSE OF ACTION
                                                        3                     (Against Fundamental Films and 24 HTL as Alter Egos)
                                                        4            46.      The Directors incorporate by reference each allegation contained in
                                                        5 Paragraphs 1 through 45 as though fully set forth herein.
                                                        6            47.      The Directors are informed and believe and on that basis allege that
                                                        7 there is an interrelationship of operations, management, and ownership between 24
                                                        8 HTL and Fundamental Films, including substantially overlapping executives and a
                                                        9 shared business address.
                                                       10            48.      The Directors are informed and believe and on that basis allege that at
                                                       11 all material times the common members, managers, and owners of 24 HTL and
                801 North Brand Boulevard, Suite 950




                                                       12 Fundamental Films commingled their assets and property, including their respective
                   Glendale, California 91203-1260




                                                       13 interests and rights in the Motion Picture and related intellectual property.
BUSH GOTTLIEB




                                                       14            49.      Fundamental Films, as the alter ego of 24 HTL, is bound to the
                                                       15 Signatory Documents to the same extent as 24 HTL; as such both Fundamental
                                                       16 Films and 24 HTL are obligated to make necessary records available for audit, and
                                                       17 to report and pay to the Plans any and all unpaid contributions found to be due and
                                                       18 owing, as well as interest, liquidated damages, audit costs, legal and attorneys’ fees,
                                                       19 as set forth in the Signatory Documents, as applicable.
                                                       20                                      PRAYER FOR RELIEF
                                                       21            WHEREFORE, the Directors pray for judgment against Defendants 24 HTL,
                                                       22 Fundamental Films, and Does 1-10, jointly and severally, as follows:
                                                       23            1.       For an order directing 24 HTL and Fundamental Films to provide the
                                                       24 Plans and their agents with all books and records necessary to complete the Audit;
                                                       25            2.       for unpaid Payroll Contributions in an amount to be established by
                                                       26 proof at trial;
                                                       27            3.       for audit costs in an amount to be established by proof at trial;
                                                       28            4.       for liquidated damages in an amount to be established by proof at trial;
                                                            685340v2 11011-28018
                                                                                                           10                                2:20-CV-00653
                                                                                                       COMPLAINT
                                                         Case 2:20-cv-00653 Document 1 Filed 01/22/20 Page 11 of 11 Page ID #:11




                                                        1            5.       for interest in an amount to be established by proof at trial;
                                                        2            6.       for reasonable attorney’s fees and other costs of this action incurred by
                                                        3 the Directors, in amounts to be established by proof at trial; and
                                                        4            7.       for such additional relief as this Court deems just and proper.
                                                        5
                                                        6 DATED: January 22, 2020                     PETER S. DICKINSON
                                                                                                      KIRK M. PRESTEGARD
                                                        7
                                                                                                      ESTEPHANIE VILLALPANDO
                                                        8                                             BUSH GOTTLIEB, A Law Corporation
                                                        9
                                                       10
                                                                                                      By:
                                                       11
                                                                                                          ESTEPHANIE VILLALPANDO
                801 North Brand Boulevard, Suite 950




                                                       12                                             Attorneys for Motion Picture Industry Pension
                   Glendale, California 91203-1260




                                                       13                                             and Health Plans
BUSH GOTTLIEB




                                                       14
                                                       15
                                                       16
                                                       17
                                                       18
                                                       19
                                                       20
                                                       21
                                                       22
                                                       23
                                                       24
                                                       25
                                                       26
                                                       27
                                                       28
                                                            685340v2 11011-28018
                                                                                                            11                                 2:20-CV-00653
                                                                                                       COMPLAINT
